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              Exhibit Y
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                      Document#:#:87-25
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Case:
 Case:1:20-cv-02111
        1:20-cv-02111Document
                      Document#:#:87-25
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Case:
 Case:1:20-cv-02111
        1:20-cv-02111Document
                      Document#:#:87-25
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